Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 1 of 7
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 2 of 7
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 3 of 7
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 4 of 7
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 5 of 7




           6th day of November, 2020.
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 6 of 7
Case 2:20-cv-01736-RFB-DJA Document 19 Filed 11/06/20 Page 7 of 7
